                      EXHIBIT A

              (Pitt County 23-CVS-3283)




Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 1 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 2 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 3 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 4 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 5 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 6 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 7 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 8 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 9 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 10 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 11 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 12 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 13 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 14 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 15 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 16 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 17 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 18 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 19 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 20 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 21 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 22 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 23 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 24 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 25 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 26 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 27 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 28 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 29 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 30 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 31 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 32 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 33 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 34 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 35 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 36 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 37 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 38 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 39 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 40 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 41 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 42 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 43 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 44 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 45 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 46 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 47 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 48 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 49 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 50 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 51 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 52 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 53 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 54 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 55 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 56 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 57 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 58 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 59 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 60 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 61 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 62 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 63 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 64 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 65 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 66 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 67 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 68 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 69 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 70 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 71 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 72 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 73 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 74 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 75 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 76 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 77 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 78 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 79 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 80 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 81 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 82 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 83 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 84 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 85 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 86 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 87 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 88 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 89 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 90 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 91 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 92 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 93 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 94 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 95 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 96 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 97 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 98 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 99 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 100 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 101 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 102 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 103 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 104 of 105
Case 4:23-cv-00200-FL Document 1-1 Filed 12/04/23 Page 105 of 105
